IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DIS'
TEXAS AT DALLA
                           :t al                                                MAR 0 1 2021
                             Case Number:
                                                                            Clerk, U.S. District Court
                                                                            Eastern District of Texas

Ladera, et al.

                   MOTION TO URGE EMERGENCY INJUNCTION
   COMES NOW, Al M Williams, pro se , Intevenor Plaintiff, for his motion to urge
action on his complaint, states:

   That this matter has been transferred from the Dallas District Court to the US

District Court at Plano which requires Re-Urgence. Today Plaintiff is re-urging asking

for expedited treatment.


   That During the transition the plainfff l M Williams has suffe ed actual injury that

monetary damages alone will not cure


   That is an emergency that has life and/or death consequences. CO VID is real. This is

a national disaster.


   The plaintiffs have properly requested that this Court act upon their pleading and

because the defendant Ladera has a live writ of possession which they seek to

physically remove the plaintiffs family from their own home. See verified pleading of

record.



   That upon information and belief this is targeted retaliation . (See Exhibits
                                                                                   »•

   The Plaintiff will not be able to attend the March 5, 2021 Court date due to recent

death in the family due to COVID19. This pandemic is personal because of the recent

loss of a family members due COVID; so I am here today begging justice.




                                                                                              1
   WHEREFORE, ALL PREMISES, The plaintiff urges the Court to act upon the

pleadings expeditiously.


      The statement made are accurate, correct, and true to the best of my knowledge
   information and belief pursuant to penalties of perjury USC1746

      /s/Al wms/s --
      Al M Williams
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       Dallas, 75287
      214-414-6371




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